         Case 3:22-cv-00178-SDD-SDJ          Document 191    11/29/23 Page 1 of 2




                           UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA

AMENDED MINUTE ENTRY:
NOVEMBER 29, 2023
CHIEF DISTRICT JUDGE SHELLY D. DICK


DOROTHY NAIRNE, et al
                                                                      CIVIL ACTION
versus
                                                                      22-178-SDD-SDJ
R. KYLE ARDOIN, in his capacity
as Secretary of State of Louisiana, et al.


         This matter came on this day for continuation of the Bench Trial.

         PRESENT: Megan C. Keenan, Esq.
                  Victoria Wenger, Esq.
                  Sarah E. Brannon, Esq.
                  Stuart C. Naifeh, Esq.
                  Josephine M. Bahn, Esq.
                  Robert S. Clark, Esq.
                  Tiffany Alora Thomas, Esq.
                  Amanda Giglio, Esq.
                  John N. Adcock, Esq.
                  Sara Rohani, Esq.
                  Dayton Campbell-Harris, Esq.
                  Garrett Muscatel, Esq.
                  Counsel for Plaintiffs

                      Phillip J. Strach, Esq.
                      John Carroll Walsh, Esq.
                      John Clifton Conine, Jr., Esq.
                      Thomas A. Farr, Esq.
                      Cassie Holt, Esq.
                      Alyssa Riggins, Esq.
                      Counsel for R. Kyle Ardoin

                      Robert J. Tucker, Esq.
                      Michael W. Mengis, Esq.
                      Katherine L. McKnight, Esq.
                      Patrick T. Lewis, Esq.
                      Counsel for Intervenor Schexnayder and Cortez
        Case 3:22-cv-00178-SDD-SDJ           Document 191       11/29/23 Page 2 of 2




       Bill Cooper resumes his testimony. Exhibits filed.

       Dr. Traci Burch, is sworn, tendered, accepted as an expert in the field of racial

discrimination, political participation and barriers to voting, and testifies. Exhibits filed.

       Plaintiffs rest.

       Court recesses until Thursday, November 30, 2023, at 9:00 a.m.

                                         * * * * *

S. Thompson and Natalie Breaux/Reporters
C: CV 6; T 6 hrs.
